                                  Case 2:20-cv-03787-JDW Document 1-2 Filed 08/04/20 Page 1 of 1
                                                                          UNITED STATES DISTRICT COURT
                                                                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                             DESIGNATION FORM
                              (to be used by counsel or pro   se   plainti.ffto indicate     the category   ofthe casefor      the purpose ofassignment to the appropriale calendar)


  Addressof          ptaintiff:                                             7017 Sherwood Road, Philadelphia, pA 19151
  Address ofDefendant:                                                      508 Main Capital Building, Harrisburg , PA 17120
 Place of Accident, Incident or Transaction:                                                                                      Pennsylvania


 RELATED CASE, IF ANY:

 Case Number:                                                                   Judge                                                                Date Terminated

 Civil      cases are deemed related              when les is answered to any of the lollowing questions:

  L      Is this case related to property included in an earlier numbered suit pending or within one year
         previously terminated action in this court?
                                                                                                                                                           Yes                    N"z
 2.      Does this case involve the same issue offact or grow out ofthe same transaction as a prior suit
         pending or within one year previously terminated action in this court?
                                                                                                                                                         Yes                      N"z
 3       Does this case involve the validity or infringement ofa patent already in suit or any earlier
         numbered case pending or within one year previously terminated action ofthis court?
                                                                                                                                                         Yes                      Noz
 4       Is this case a second or successive habeas corpus, social security appeal, or pro se
         case filed by the same individual?
                                                                                                                              civil rights               Yes                      N"z
 I certify that, to my knowledge, the within case                      E   is   IE      is   not   related to any case now pending or within one year previously terminated action in
 this court except as noted above.

 DArF 08/0412020                                                                                                       herc                                                     75616
                                                                                                               / Pro   Se   Plaintilf                                 Attorney I.D. # (if applicable)


 CIVIL: (Place a i in            one category only)

A.               F e de ral   Qu es tio n C as e s :                                                           B.       Diversity JurisdictionClses:

!       1.       Indemnity Contract, Marine Contract, and All Other Contracts                                  trr.             Insurance Contract and Other Contracts
n       2.       FELA                                                                                          tr2.            Airplane Personal Injury
tr
tr
        3.       Jones Act-Personal Injury                                                                     tr3.            Assault, Defamation

tr
        4.
        5.
                 Antitrust                                                                                     tr4.            Marine Personal Injury

tr
                 Patent
                                                                                                               trs.            Motor Vehicle Personal Injury

a
        6.       Labor-Management Relations                                                                    tr6.            Other Personal     Injtry   f   lease specify)


tr
        7.
        8.
                 Civil Rights                                                                                  tr7.            Products Liability
                 Habeas Corpus
                                                                                                               tr8.            Products Liability    -   Asbestos
tr
tr
        9.
         10.
                 Securities Act(s) Cases
                 Social Security Review Cases
                                                                                                               tre.            All other Diversity
                                                                                                                               (Please specify)
                                                                                                                                                      Cases


tr      I   l.   All other Federal Question Cases
                 (Please specdy)




                                                                                             ARBITRATION CERTIFICATION
                                                             (The effect of this certifcation is Io remove the case from eligibility              for arbitration.)

I,           Michael T. van der Veen                                     counsel ofrecord or pro se plaintiff, do hereby certify:


                 Pursuant to Local Civil Rule 53.2, $ 3(c) (2), that to the best ofmy knowledge and belief, the damages recoverable in this                                         civil action   case
                 exceed the sum of$150,000.00 exclusive ofinterest and costs:


     n           Relief other than monetary damages is sought.



DArE 08/0412o2o                                                                                     Si           {'applicable                                                   75616
                                                                                                              / Pro    Se   Plaintilf                                Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial byjury only ifthere has been                                  with F.R C.P       38


Civ. 609 (512018)
